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         ORIGINAL                          BY ORDER OF THE COURT

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                                                                           FILED IN THE
Attorneys for Plaintiff                                            UNITED STATES DISTRICT COURT
UNITED STATES OF AMERICA                                                DISTRICT OF HAWAII

                                                                           JUN 1 0 2020
                 IN THE UNITED STATES DISTRICT COURT                                          oaJ
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                          FOR THE DISTRICT OF HAWAII                           district court
                                                            20 - 0 0 0 4 4
UNITED STATES OF AMERICA,                    CR. NO.


                     Plaintiff,              INDICTMENT


      vs.                                    [18U.S.C. §242,371,and 1519]

JASON TAGALOA,                      (01)
CRAIG PINKNEY, and                  (02)
JONATHAN TAUM,                      (03)

                     Defendants.



                                   INDICTMENT


The Grand Jury charges:
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                                General Allegations


      At all times relevant to this Indictment:


       1.    The Hawaii Community Correctional Center("HCCC"),located in

Hilo, Hawaii, was a state jail operated by the Hawaii Department ofPublic Safety

("DPS"). Located on the jail facility's grounds were the Waianuenue recreation

yard (the "Rec Yard")and the Punahele housing complex.

      2.     JASON TAGALOA,CRAIG PINKNEY,and JONATHAN TAUM,

the defendants, and Officer A,an individual known to the Grand Jury and not

charged in this Indictment(collectively, the "Officers"), were employed by DPS

and worked as Adult Correctional Officers at HCCC.


      3.     JONATHAN TAUM held the rank of Sergeant at HCCC and served

as a supervisory Adult Correctional Officer.

      4.     Inmate 1, an individual known to the Grand Jury, was an inmate

housed at HCCC.


      5.     Internal Affairs was an investigative and administrative branch of

DPS responsible for investigating violations of policy or law by employees of

HCCC and DPS.


      6.     During an investigation by Internal Affairs, investigators could

require employees involved in or witness to potential violations of policy or law to

complete Internal Affairs Questionnaires relating to the potential violations.
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       7.    The Federal Bureau of Investigation had jurisdiction to investigate

civil rights violations.

                                      Count 1
                      Deprivation of Rights under Color of Law
                             (18U.S.C. §§ 242 and 2)

      8.     On or about June 15, 2015, within the District of Hawaii, JASON

TAGALOA,CRAIG PINKNEY,and JONATHAN TAUM,the defendants, and

Officer A, while acting under color oflaw and while aiding and abetting one

another, willfully deprived Inmate I ofthe right, secured and protected by the

Constitution and laws ofthe United States, to be free from cruel and unusual

punishment. Specifically, TAGALOA,PINKNEY,TAUM,and Officer A

physically assaulted Inmate 1 in the HCCC's Rec Yard, and failed to intervene to

protect Inmate I from being assaulted, despite having had the opportunity to do so.

This offense resulted in bodily injury to Inmate 1 and involved the use of

dangerous weapons(shod feet).

      All in violation of Title 18, United States Code, Sections 242 and 2.

                                      Count 2
                      Deprivation of Rights under Color ofLaw
                                 (18U.S.C. §242)

      9.     On or about June 15, 2015, within the District of Hawaii, JASON

TAGALOA,the defendant, while acting under color oflaw, willfully deprived

Inmate I ofthe right, secured and protected by the Constitution and laws ofthe
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United States, to be free from cruel and unusual punishment. Specifically,

TAGALOA physically assaulted Inmate 1 in the F7 holding cell of HCCC's

Punahele complex. This offense resulted in bodily injury to Inmate 1.

      All in violation of Title 18, United States Code, Section 242.

                                       Count 3
                           Conspiracy to Obstruct Justice
                                (18U.S.C. §371)

      10.    On or about and between June 15, 2015 and December 20,2016, both

dates being approximate and inclusive, within the District of Hawaii, JASON

TAGALOA,CRAIG PINKNEY,JONATHAN TAUM,the defendants, and

Officer A knowingly and willfully combined, conspired, and agreed with one

another and with other correctional officers known and unknown to the Grand Jury

to commit the following offenses against the United States:

             a.     To knowingly falsify, conceal, cover up, or make a false entry

in a record or document with the intent to impede, obstruct, or influence the

investigation or proper administration of a matter within federal jurisdiction, or in

relation to or in contemplation of such a matter, in violation of 18 U.S.C. § 1519;

and


             b.    To knowingly engage in misleading conduct toward another

person with the intent to hinder, delay, or prevent the communication to a federal
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law enforcement officer or judge oftruthful information relating to the commission

or possible commission of a federal offense, in violation of 18 U.S.C. § 1512(b)(3).

                        Manner and Means ofthe Conspiracy


       11.   TAGALOA,PINKNEY,TAUM,and Officer A intended to cover up

the assault on Inmate 1 charged in Count 1 ofthis Indictment, and to obstruct any

investigation arising out ofthat assault, by engaging in a variety of obstructive acts,

including devising a false cover story to explain and justify their use ofexcessive

force, documenting that false cover story in official reports, and repeating that false

cover story when questioned during investigations or disciplinary proceedings

arising out ofthe assault.

              Overt Acts Committed in Furtherance ofthe Conspiracy

       12.   In furtherance ofthe conspiracy and to effect the objects thereof,

TAGALOA,PINKNEY,TAUM,and Officer A committed the following overt

acts, among others, within the District of Hawaii:

             a.     After the assault charged in Count 1 ofthis Indictment,

TAGALOA,PINKNEY,TAUM,and Officer A met to discuss what information to

include in, and what information to omit from,the Incident Report("IR")and Use

ofForce Report("UFR")completed by each ofthe Officers;

             b.     Before the end oftheir shifts, the Officers wrote and submitted

the false and misleading IRs and UFRs charged in Counts 4-6 ofthis Indictment;
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             c.     After learning that an internal investigation had been or soon

would be opened to investigate the assault on Inmate 1 charged in Count 1 ofthis

Indictment, TAUM invited TAGALOA,PINKNEY,and Officer A to his house so

that the Officers could devise ways in which to explain and justify their use of

excessive force against Inmate 1 in the Waianuenue Rec Yard;

             d.    In advance ofthat meeting, TAUM obtained a copy ofHCCC

surveillance video ofthe assault on Inmate 1;

             e.     At that meeting, TAGALOA,PINKNEY,TAUM,and Officer

A watched video ofthe assault and devised and agreed upon ways in which to

explain and justify their use of excessive force against Inmate 1. For example, in

order to explain and justify their use of untrained strikes, such as kicking and

punching Inmate 1 in the face, head, and body, the Officers agreed to state that

Inmate 1 was not subdued by trained strikes;

             f.     When the Officers received their Internal Affairs


Questionnaires, they discussed with one another ways in which to apply their false

cover story to specific questions posed to them;

             g.    TAGALOA and Officer A wrote and submitted Internal Affairs

Questionnaires in which they continued to stick to the false cover story they had

discussed during the meeting at the house ofTAUM and at other times; and
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             h.    During the ensuing disciplinary proceedings, TAGALOA and

Officer A testified and continued to stick to the false cover story they had discussed

during the meeting at the house ofTAUM and at other times.

      All in violation of Title 18, United States Code, Section 371.

                                       Count 4
                            Obstruction by False Report
                                (18U.S.C. § 1519)

      13.    On or about June 15, 2015, within the District of Hawaii, JASON

TAGALOA,the defendant, acting in relation to and in contemplation of a matter

within the jurisdiction ofthe United States, knowingly falsified, concealed,

covered up, and made a false entry in a record and document with the intent to

impede, obstruct, and influence the investigation and proper administration ofthat

matter. Specifically, TAGALOA wrote, signed, and submitted an IR and a UFR

documenting a false cover story intended to cover up the assaults charged in Count

1 and 2 ofthis Indictment. In the IR, TAGALOA wrote, in pertinent part, that the

Officers used "brachial stuns and brachial plex[u]s tie in strikes to gain compliance

so inmate could be restrain[e]d." In the UFR,in response to the prompt,"Describe

in Detail Force Used (the type and amount)," TAGALOA wrote,"Reactive [u]se

offorce [was used] to gain control/compliance." Those reports were false and

misleading because, as TAGALOA then well knew,(1)the Officers did not

perform "brachial stuns and brachial plex[u]s tie in strikes," which are use-of-force
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techniques taught at HCCC,but rather kicked and kneed Inmate 1, punched him in

the face, and used hammer-fist strikes to the back of his head;(2)the Officers, at

various points during the incident, used force against Inmate 1 that was not

"reactive"(because Inmate 1 was not resisting) and was not used "to gain

control/compliance"(because Inmate 1 had already been subdued);(3)TAGALOA

omitted from both reports that for several minutes, during much of which the

Officers held Inmate 1 pinned face-down on the ground ofthe Rec Yard,

TAGALOA,PINKNEY,TAUM,and Officer A punched, kneed, and kicked

Inmate 1 in the face, head, and body dozens oftimes; and (4)TAGALOA omitted

from both reports that he physically assaulted Inmate 1 in the F7 holding cell, as

charged in Count 2 ofthis Indictment.

      All in violation of Title 18, United States Code, Section 1519.

                                      Count 5
                            Obstruction by False Report
                                (18U.S.C. § 1519)

      14.    On or about June 15, 2015, within the District of Hawaii, CRAIG

PINKNEY,the defendant, acting in relation to and in contemplation of a matter

within the jurisdiction ofthe United States, knowingly falsified, concealed,

covered up, and made a false entry in a record and document with the intent to

impede, obstruct, and influence the investigation and proper administration ofthat

matter. Specifically, PINKNEY wrote, signed, and submitted a UFR documenting
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a false cover story intended to cover up the assault charged in Count 1 ofthis

Indictment. In response to the prompt,"Describe in Detail Force Used (the type

and amount)," PINKNEY wrote,"Inmate was removed from the Waianuenue

housing unit and escorted to the Punahele housing unit through the Waianuenue

rec yard. Inmate became ag[g]ressive and violent towards staff and was taken

down." That report was false and misleading because, as PINKNEY then well

knew,(1)Inmate 1 was not violent or aggressive with the Officers before they took

him to the ground; and(2)PINKNEY omitted from that report that for several

minutes, during much of which the Officers held Inmate 1 pinned face-down on the

ground ofthe Rec Yard,TAGALOA,PINKNEY,TAUM,and Officer A punched,

kneed, and kicked Inmate 1 in the face, head, and body dozens oftimes.

      All in violation of Title 18, United States Code, Section 1519.

                                      Count 6
                           Obstruction by False Report
                               (18U.S.C. § 1519)

      15.   On or about June 15,2015, within the District of Hawaii,

JONATHAN TAUM,the defendant, acting in relation to and in contemplation of a

matter within the jurisdiction ofthe United States, knowingly falsified, concealed,

covered up, and made a false entry in a record and document with the intent to

impede, obstruct, and influence the investigation and proper administration ofthat

matter. TAUM wrote, signed, and submitted an IR and a UFR documenting a false
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cover story intended to cover up the assault charged in Count 1 ofthis Indictment.

In his IR, TAUM wrote, in pertinent part, that right before Inmate 1 "was taken to

the ground to be restrained," Inmate 1 "turned and tried to run back to

Waianuenue." In his UFR,TAUM wrote, in response to the prompt,"Describe the

Incident in Detail," that during transfer to a different cell, Inmate 1 "attempted to

run and resisted transfer[,]... was taken down and restrained[,]...[and] resisted

the entire time." Those reports were false and misleading because, as TAUM then

well knew,(1)Inmate 1 did not turn and try to run before he was taken to the

ground;(2)once Inmate 1 was on the ground, he resisted for a brief period but did

not resist for "the entire time" the Officers were using force against him; and(3)

TAUM omitted from both reports that for several minutes, during much of which

the Officers held Inmate 1 pinned face-down on the ground ofthe Rec Yard,




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 United States v. Jason Tagaloa. et al.
 Indictment
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